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                                                                  U.S.'CIS i RiC 1 CGU.R f
                IN THE UNITED STATES DISTRICT COURT
                                                                          SA\v\-iMAH DiVl
                FOR THE SOUTHERN DISTRICT OF GEORGIA                               PHlj:39
                                                              ri T':*/
                             SAVANNAH DIVISION                V w U* ii

                                                                      so. DiST/OT" GA.

THE UNITED STATES OF AMERICA,


                Plaintiff,

                 V.                          4:16CR353-07


JOVAN MYRICK,


                Defendant.




                                ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this            day of June, 2017.




                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
